        Case 1:24-cv-04012-RER-JRC Document 4 Filed 06/04/24 Page 1 of 1 PageID #: 24

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the

                                                   Eastern District of New York

  Madelin Fernandez, on behalf of herself and others              )
                 similarly situated                               )
                                                                  )
                                                                  )
                            Pfaintij)(s)                          )
                          v.                                      )       Civil Action No. 24-CV-4012     RER-JRC
                                                                  )
     Tavares 234 Restaurant Corp. d/b/a Tavares                   )
   Restaurant, New Tavares Restaurant Corp. d/b/a
                                                                  )
  Tavares Restaurant, Julio A. Tavares, and Fabio A.
                        Pena                                      )
                                                                  )
                           Defe11da11/(s)                         )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant's
       •         name and address) Tavares 234 Restaurant Corp. c/o NY Secretary of State, One Commerce Plaza, 99
                                   Washington Avenue - 6th Floor, Albany, NY 12231;
                                   New Tavares Restaurant Corp. c/o NY Secretary of State, One Commerce Plaza, 99
                                   Washington Avenue - 6th Floor, Albany, NY 12231 ;

                                       Julio A Tavares c/o Tavares Meat Market, 2972 Fulton Street, Brooklyn, NY 11208;
                                       Fabio ("Junior") A. Pena, 234 Cleveland Street, Brooklyn, NY 11208

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintifrs attorney,
whose name and address are:
                                Cilenti & Cooper, PLLC
                                60 E. 42nd Street - 40th Floor
                                NY, NY 10165



        If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file yam answer or motion with the court.

                                                                             BRENNA B. MAHONEY
                                                                             CLERK OF COURT

             6/4/2024                                                         s/Kimberly Davis
Date:                                                                                              - -- ------             . .   .   · · ·--·

                                                                                       Signature a/Clerk or Deputy Clerk
